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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                  CASE No. 3:06cr122/LAC

JOHN MICHAEL TAYLOR,
 a/k/a “Big Dog,”
 a/k/a “Rhino”


                     PRELIMINARY ORDER OF FORFEITURE

       WHEREAS, in the indictment in the above-entitled action, the United States

sought forfeiture, inter alia, of all property of the defendant, JOHN MICHAEL

TAYLOR, pursuant to Title 21, United States Code, Sections 853(a)(1) and (2), and Title

21, United States Code Sections 841(a)(1), 841(b)(1)(A)(ii) and 846, as property

constituting, or derived from, proceeds obtained directly or indirectly from the violation

set forth in Count One, of said indictment and/or property used or intended to be used to

commit or promote the commission of the offense set forth in said indictment charging

JOHN MICHAEL TAYLOR with Conspiracy to distribute and possess with intent to

distribute five (5) kilograms or more of a mixture and substance containing a detectable

amount of cocaine, in violation of Title 21, United States Code, Sections 841(b)(1)(A)(ii)

and 846.

       AND WHEREAS, on or about November 17, 2006, defendant, JOHN

MICHAEL TAYLOR, pled guilty to Count One, and agreed to the forfeiture set forth in
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the indictment with regard to defendant’s interest in the specifically below described real

property;

       AND WHEREAS, by virtue of said guilty plea, the United States is now entitled

to entry of a preliminary order of forfeiture against all of the defendant’s interest in said

real property, pursuant to Title 21, United States Code, Section 853(a)(1) and (2), and

Rule 32(d)(2) and 32.2(b) of the Federal Rules of Criminal Procedure; now wherefore,

       IT IS HEREBY ORDERED:

       1.      That all of defendant JOHN MICHAEL TAYLOR’s right and interest in

the real property described below is hereby forfeited to and vested in the United States of

America.

       2.      That the property which is subject to forfeiture in this Order is as follows:

               (A)     Real property with recorded title in the name of JOHN

MICHAEL TAYLOR as described in the Official Records at Book 04, Page 042787,

Official Records of Brazoria County, Texas. Said real property is further identified as all

that tract or parcel of land, together with its buildings, improvement, fixtures, attachments

and easements, commonly known as Brazos River Road CR 400, Lake Jackson, Texas,

and more particularly described as:

               A 20.4654 ACRE TRACT OF LAND OUT OF A 350.23 ACRE TRACT , S.F.
               AUSTIN 7 1/3 LEAGUES, ABSTRACT 20, CALLED TRACTS 7 & 8, DESCRIBED
               MORE PARTICULARLY IN THE EXHIBIT “A” ATTACHED HERETO.


       3.      That the United States is hereby directed to publish notice of this forfeiture

and of it’s intent to dispose of said property, and to the extent practicable, to provide

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direct written notice to all persons known to have alleged an interest in said property,

pursuant to Title 21, United States Code, Section 853(n)(1).

         4.    That upon adjudication of all third party interests, or if no third party

claims are filed pursuant to Title 21, United States Code, Section 853(n), the United

States shall dispose of said real property in accordance with law or further Order of this

Court.

         IT IS SO ORDERED this 24th day of January, 2007.


                                      s /L.A. Collier
                                      LACEY A. COLLIER
                                      SENIOR UNITED STATES DISTRICT JUDGE




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